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          July 15, 2020



          BY EMAIL/ECF
          The Honorable Katherine Polk Failla
          United States District Judge
          Southern District of New York
          40 Foley Square
          New York, NY 10007
                                United States v. Anilesh Ahuja,
                                18 Cr. 328 (KPF)
          Dear Judge Failla:

                         We write briefly concerning the new disclosure made by the government on
          Saturday, July 11, 2020, and to clarify two points relevant to our July 6, 2020 submission.

                         On July 11, 2020, the government produced for the first time an email
          attaching a draft allocution that was sent to the government by counsel for cooperating
          witness Frank Dinucci on April 5, 2017, the day before Dinucci’s plea. 1 The government
          had previously produced a different draft allocution from Dinucci’s counsel, which had




          1
              Ex. A, July 11, 2020 Email from Gov’t; Ex. B, April 5, 2017 Email from D. Zinman to
              Gov’t with Revised Draft Dinucci Allocution.
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been sent to the government approximately 40 minutes earlier on April 5, 2017. 2 The
newly disclosed documents reveal a second and revised draft of the allocution, and a cover
email from Dinucci’s lawyer stating, “Please call me if you’d like to discuss.”

                This recent disclosure constitutes another instance in which the government
failed to produce to the defense a communication with a cooperating witness’s counsel that
falls within the ambit of the witness’s Giglio and 3500 material. This disclosure also calls
into question the accuracy of other representations the government made to the Court.

                On June 6, 2019, the Court ordered the government to “review all of your
attorney communications in this case,” and the government represented that it would
“search again to make sure that -- to see if there are any other draft allocutions or anything
like that to make sure.”3 The prosecutors then represented to the Court in writing on June
8, 2019, that they had “reviewed [their] file, including archived emails, for all
communications with attorneys for witnesses in this case,” and produced the results of that
review. 4 Yet, the newly disclosed email and revision to the Dinucci allocution were not
produced. Notably, even if the government attorneys had deleted that email—which would
itself raise concerns—it still would have been in the government’s web-based backup
(which the government has said retains deleted emails for three years) and thus easily
retrievable.

                  Likewise, in its June 24, 2020 letter to the Court, the government
represented that it would produce by June 26, 2020, the results of searching “all of their
internal emails beginning two days prior to the plea proceedings for Majidi and cooperating
witnesses Frank Dinucci and Ashish Dole, up to and including the date of those plea
proceedings” for “internal or external communications regarding the substance or content
of any draft, proposed, or actual plea allocution relating to the scheme alleged in this case;
. . . and all versions of any draft, proposed, or actual plea allocutions relating to the scheme
alleged in this case.”5 The email and revised version of the Dinucci allocution were not
included in the June 26, 2020 production either.

                Finally, and relatedly, this most recent disclosure undermines the
government’s contention that, although deleted emails related to Dinucci’s April 2017 plea
were retained only until April 2020, “there is no reason to believe that any emails from
April 2017” were deleted such that they would only be on the web-based backup. 6 The
government’s assurance that relevant materials were not lost as a result of its delay provides
little comfort in the face of new documents still coming to light even to this day.


2
    April 5, 2017 Email from D. Zinman to Gov’t with Initial Draft Dinucci Allocution,
    ECF 210, Ex. I.
3
    Trial Tr. 479:13-23 (emphasis added); Trial Tr. 480: 12-15.
4
    June 8, 2019 Gov’t Letter, ECF 209 at 1 (emphasis added).
5
    June 24, 2020 Letter from Gov’t, ECF 371 at 2–3.
6
    See id. at 3 n.1.

                                               2
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                We also wish to correct two points related to our July 6, 2020 letter. First,
consistent with the government’s acknowledgment that Amin Majidi’s final allocution
before Your Honor “matches” the revised allocution that was prepared and circulated to
the prosecution team by Mr. Naftalis, 7 our letter stated that Majidi read the Naftalis-
authored allocution without any modification. Upon further review, however, we
recognize that, as compared to the version Mr. Naftalis circulated to the other AUSAs, the
final allocution Majidi read in court did not include a sentence near the end about the use
of “interstate emails and text messages,” added the word “fees” in one sentence, and
omitted the word “month-end” in one sentence.8 These modifications do not affect the
substance of the arguments made in our July 6, 2020 letter.

                 Second, our July 6, 2020 letter describes two email exchanges concerning
conversations between the government and Dole’s lawyer on the day of Dole’s plea. The
first is an “internal” email exchange between the prosecutors and FBI arranging to speak
with Dole’s counsel on the day of the plea. 9 The email exchange reveals that one of the
unit chiefs who handled Dole’s plea was trying to reach Dole’s lawyer before the plea and
set up a time to do so. The second email described in our letter was an email sent from one
of the unit chiefs to Dole’s lawyer the day after the plea concerning the scheduling of a
presentence interview. 10 In that November 14, 2017 email, the unit chief also remarked,
“It was good to see you yesterday. Thanks for making yourself available for a few minutes
before the proceeding.” 11

               The government did not bring either of these documents to the Court’s
attention when the Court inquired about changes to the cooperators’ allocutions or when
the Court specifically asked the government whether there were oral communications with
Dole’s counsel concerning Dole’s plea allocution. And, to our knowledge, the government
did not produce either document before June 26, 2020. The email exchange between the

7
     Id. at 2.
8
     Compare Naftalis Allocution, ECF 385, Ex. 8 at USAO_SDNY_26368 (“As part of
     this scheme, I used interstate emails and text messages.”), with Majidi Plea Tr. 32:7–
     10, ECF 210, Ex. C (omitting foregoing sentence included in Naftalis Allocution); see
     Majidi Plea Tr. 31:24–32:1, ECF 210, Ex. C (“The funds’ net asset value and their
     performance also determined PPI’s management fees and performance fees.”
     (emphasis added)); compare Naftalis Allocution, ECF 385, Ex. 8 at
     USAO_SDNY_26367 (“Between 2014 and 2016, I participated in a scheme with,
     among others, Neil Ahuja, CEO of PPI, and Jeremy Shor, a trader at PPI, to fraudulently
     inflate the month-end net asset value of the funds that PPI managed.” (emphasis
     added)), with Majidi Plea Tr. 32:2–5, ECF 210, Ex. C (omitting “month-end”).
9
     November 13, 2017 Email Exchange Between FBI and AUSAs, ECF 385, Ex. 15 at
     USAO_SDNY_026395–USAO_SDNY_026396.
10
     November 14, 2017 Email from Gov’t to G. Kehoe, ECF 385, Ex. 16 at
     USAO_SDNY_026398.
11
     Id.

                                             3
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unit chiefs and Dole’s lawyer from the day after the plea, however, was among more than
1,300 pages of materials produced to Mr. Ahuja’s counsel by Dole’s lawyers during trial
on June 3–4, 2019. We therefore want to clarify that while it was not previously produced
by the government, that particular email was produced to Mr. Ahuja’s counsel by Dole’s
lawyers in response to a Rule 17 subpoena.

                                       Respectfully submitted,



                                       Roberto Finzi
                                       Richard C. Tarlowe
cc:     Counsel of Record




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